                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                    3:10-CR-00238-RJC
    USA                                             )
                                                    )
      v.                                            )                 ORDER
                                                    )
    MILTON EARL ADAMS                               )
                                                    )

           THIS MATTER is before the Court on defendant’s pro se motion challenging the extent

of a sentence reduction under Federal Rule of Criminal Procedure 35(b). (Doc. No. 743).

           The defendant claims the government breached an agreement to recommend a specific

reduction greater than that specified in its motion, (Doc. No. 740), which the Court granted on

June 6, 2016, (Doc. No. 742: Order). The defendant has not alleged any statutory basis for relief;

however, a person in custody may move the Court to vacate a sentence imposed in violation of

the Constitution or laws of the United States under 28 U.S.C. § 2255.

           IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 743), is

denied without prejudice to be re-filed as a motion to vacate under § 2255 within the one-year

limitation period.1




1   Specifically, the Act provides:

           A 1-year period of limitation shall apply to a motion under this section. The
           limitation period shall run from the latest of–

                  (1) the date on which the judgment of conviction becomes final;

                  (2) the date on which the impediment to making a motion created by
                  governmental action in violation of the Constitution or laws of the United
                  States is removed, if the movant was prevented from making a motion by
                  such governmental action;



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       The Clerk of Court is directed to provide a copy of this Order with a § 2255 motion form

to the defendant.

 Signed: July 11, 2016




                (3) the date on which the right asserted was initially recognized by the
                Supreme Court and made retroactively applicable to cases on collateral
                review; or

                (4) the date on which the facts supporting the claim or claims presented
                could have been discovered through the exercise of due diligence.




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